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 So Ordered.

 Signed this 27 day of February, 2017.



                                                 _______________________________
                                                     Robert E. Littlefield, Jr.
                                                     United States Bankruptcy Judge




   UNITED STATES BANKRUPTCY COURT
   NORTHERN DISTRICT OF NEW YORK
   ______________________________________

   In Re:                                                  Case No.: 15-12018-rel
                                                           Chapter 13
   TIMOTHY IRVING MONICA,
   KATHY SUE MONICA,                                       Assigned to:
                                                           Hon. Robert E. Littlefield Jr.
                     Debtors.                              Bankruptcy Judge
   ______________________________________


               ORDER DETERMINING VALUE OF SECURITY INTEREST

            Upon consideration of the Motion of Timothy Irving Monica and Kathy Sue

   Monica (the “Debtors”) Pursuant to §506 for Determination of Secured Status dated

   September 29, 2016 (the “Motion”) for an order to determine the value of the security

   interest held by Residential Mortgage Loan Trust 2013-TT2, by U.S. Bank National

   Association, not in its individual capacity, but Solely as Legal Title Trustee (the

   “Creditor”) respective of the real property commonly known as 123 North Greenfield Rd,

   Porter Cors, NY 12859 (the “Property”); and due and proper notice of the Motion having

   been made on all necessary parties; and the Creditor having filed an objection thereto;
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   and the Court having held a hearing on the Motion on January 12, 2017 during which the

   Debtors and Creditor came to an agreement as to the value of the Property; it is hereby

          ORDERED that the value of the Property as determined pursuant to 11 U.S.C. §

   506(a) is $213,000.00.

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